Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 1 of 31 Page ID #:1



      NINA MARINO, ESQ. (State Bar No. 142815)
  1   JENNIFER LIESER, ESQ. (State Bar No. 313707)
      KAPLAN MARINO, PC
  2   1546 N. Fairfax Avenue
      Los Angeles, CA 90046
  3   Tel: (310) 557-0007
      Fax: (310) 861-1776
  4   Email: marino@kaplanmarino.com
              lieser@kaplanmarino.com
  5
      Attorneys for Plaintiffs
  6   DONALD LEO MELLEIN
      PAULA MARGARITA VILLEGAS de MELLEIN
  7

  8
                                   UNITED STATES DISTRICT COURT
  9
                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
 10

 11
      DONALD LEO MELLEIN;                                    )   No. 21-CV-06588
 12   PAULA MARGARITA VILLEGAS DE                            )
      MELLEIN,                                               )   COMPLAINT (MOTION) FOR:
 13                                                          )
                                      Plaintiffs,            )   (1) RETURN OF PROPERTY
 14                                                          )   PURSUANT TO FEDERAL RULE OF
                                                             )   CRIMINAL PROCEDURE 41(g);
 15                                                          )
                                                             )   (2) RETURN OF PROPERTY OR
 16                           v.                             )   DAMAGES IN AMOUNT EQUAL TO
                                                             )   VALUE OF PROPERTY PURSUANT
 17                                                          )   TO 28 USC §§ 1346, 2674 AND CHoPP
                                                             )   COMPUTER CORP. V. UNITED
 18   UNITED STATES OF AMERICA;                              )   STATES, 5 F.3D 1344 (9TH CIR. 1993);
                                                             )
 19   TRACY WILKISON,                                        )   (3) DAMAGES PURSUANT TO
        in her official capacity only;                       )   BIVENS V. SIX UNKNOWN NAMED
 20                                                          )   AGENTS OF THE FEDERAL BUREAU
      KRISTI KOONS JOHNSON,                                  )   OF NARCOTICS, 403 U.S. 388 (1971);
 21     in her official and individual capacities;           )
                                                             )   (4) ORDER REQUIRING
 22   LYNNE ZELLHART,                                        )   DISCLOSURE OF WRITTEN AND
        in her individual capacity;                          )   VIDEO INVENTORY
 23                                                          )
      DOE UNIDENTIFIED FEDERAL LAW                           )
 24   ENFORCEMENT AGENTS 1-10,                               )   DEMAND FOR JURY TRIAL
        in their individual capacities,                      )
 25                                                          )
                                      Defendants.            )
 26

 27

 28
                                                         1
                                                     COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 2 of 31 Page ID #:2




  1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

  2          PLEASE TAKE NOTICE that as soon as the matter may be calendared and heard,

  3   Plaintiffs Donald Mellein and Paula Margarita Villegas de Mellein will and hereby do move the

  4   Court (1) for an order that the government returns all as-yet unreturned property it seized from

  5   Box #224 pursuant to Fed. R. Crim. Proc. § 41(g), or in the alternative; (2) for compensatory

  6   damages pursuant to 28 USC §§ 1346, 2647; (3) for an order awarding damages pursuant to Bivens

  7   v. Six Unknown Names Agents of the Federal Bureau of Narcotics, 403 U.S. 388 (1971); and (4)

  8   for an order requiring the government to provide all inventory materials and records related to the
  9   search, seizure, and chain-of-custody of the contents of Box #224 at U.S. Private Vaults, located
 10   at 9182 West Olympic Blvd., Beverly Hills, CA 90212. Plaintiffs are entitled to this material
 11   pursuant to Federal Rules of Criminal Procedure 41 and the Fourth and Fifth Amendments of the
 12   United States Constitution.
 13          This Motion shall be based on this Notice of Motion, the attached Memorandum of Points
 14   and Authorities, the concurrently filed Declarations of Nina Marino and Jennifer Lieser, the files
 15   and records in this action, and any other evidence that may be presented at or before the hearing
 16   on this matter.
 17          Because Plaintiffs are not the subject of any criminal prosecution, any request made under
 18   Fed. R. Crim. Proc. § 41 is treated as a civil equitable proceeding. Nottoli v. United States, No. 1:

 19   13-mc-0049-BAM (E.D. Cal. Sep. 26, 2013) (citing United States v. Ritchie, 342 F.3d 903, 906

 20   (9th Cir. 2003)).

 21   DATED: August 13, 2021                                Respectfully submitted,
                                                            KAPLAN MARINO, PC
 22

 23                                                         /s/ Nina Marino
                                                            ________________________
 24                                                         NINA MARINO
                                                            JENNIFER LIESER
 25                                                         Attorneys for Plaintiffs
                                                            DONALD LEO MELLEIN
 26
                                                            PAULA MARGARITA VILLEGAS de
 27                                                         MELLEIN

 28
                                                       2
                                                  COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 3 of 31 Page ID #:3




                             MEMORANDUM OF POINTS AND AUTHORITIES
  1

  2       I.        INTRODUCTION
  3            1.        Donald Mellein is a 77-year-old retired civil servant for the City of Los Angeles
  4   and Paula Margarita Villegas de Mellein is his wife, an El Salvadorean who fled to the United
  5   States in 1981 after experiencing severe hardship. Both have led law-abiding lives of service and
  6   dedication to the City of Los Angeles where Donald Mellein worked for 24 years. Nearly five
  7   months ago, the government unlawfully seized from their safe deposit Box #224 at U.S. Private
  8   Vaults, Inc. (“USPV”) their retirement savings and the inheritance they had slowly built up for
  9   their 19-year-old son. On June 14, 2021, the FBI returned only some of their property. The FBI
 10   failed to return approximately 110 one-ounce gold coins, worth roughly $220,000.
 11            2.        Counsel for Plaintiffs immediately sent written notice to FBI Agent Lynne Zellhart
 12   and AUSA Andrew Brown requesting a copy of the video footage captured by the FBI when
 13   inventorying Plaintiffs’ safe deposit box. Counsel also attempted to reach Agent Zellhart multiple
 14   times via phone, however, the number appeared to be disconnected. After receiving no written or
 15   verbal response from Agent Zellhart, counsel contacted AUSA Brown who informed counsel that
 16   the FBI’s raid of U.S. Private Vaults, was “not [the FBI’s] finest moment” and promised counsel
 17   he would work on obtaining a copy of the video inventory for Plaintiffs’ box. Later that same day,
 18   in response to counsel’s request for the video inventory, AUSA Brown provided counsel with the
 19   contact information for FBI Associate Division Counsel Tammy Bloomfield. Counsel attempted
 20   to reach Ms. Bloomfield, but her phone rang indefinitely with no voicemail. Counsel then sent an
 21   email to Ms. Bloomfield on that same day requesting the video inventory. Ms. Bloomfield never
 22   responded.
 23            3.        The Government’s seizure of Plaintiffs’ retirement savings and inheritance for their
 24   teenage son has caused Plaintiffs considerable stress and anxiety. The Government’s loss of 110
 25   gold coins valued at approximately $220,000 and lack of any kind of inventory necessary to trace
 26   them, coupled with the lack of any meaningful response at all from the Government, only adds
 27   to their injury.
 28            4.        Plaintiffs seek an order (1) that the government returns all as-yet unreturned
                                                          3
                                                     COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 4 of 31 Page ID #:4




  1   property it seized from Box #224 pursuant to Fed. R. Crim. Proc. § 41(g), or in the alternative; (2)

  2   for compensatory damages pursuant 28 U.S.C. §§ 1346, 2647 and CHopp Corp. v. United States,

  3   5 f.3d 1344 (9th Cir. 1993); (3) for damages pursuant to Bivens v. Six Unknown Names Agents of

  4   the Federal Bureau of Narcotics, 403 U.S. 388 (1971); and (4) for the government to provide all

  5   inventory materials and records related to the search, seizure, and chain-of-custody of the contents

  6   of Box #224 at U.S. Private Vaults, Inc., located at 9182 West Olympic Blvd., Beverly Hills, CA

  7   90212. Plaintiffs are entitled to this material pursuant to Federal Rules of Criminal Procedure 41

  8   and the Fourth and Fifth Amendments of the United States Constitution.
  9       II.        JURISDICTION, AUTHORITY AND VENUE
 10             5.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 and Article
 11   III of the United States Constitution in that the United States is a party to this action, and the action
 12   involves questions of federal statutory and constitutional law.
 13             6.     The Court has the authority to order Defendants to return Plaintiffs’ personal
 14   property pursuant to Federal Rules of Criminal Procedure § 41(g) (“Rule 41(g)”), even in the
 15   absence of a criminal proceeding, as it was the subject of an unlawful search, seizure, and
 16   deprivation of property. See Ramsden v. United States, 2 F.3d 322, 324 (9th Cir. 1993); United
 17   States v. Martinson, 809 F.2d 1364, 1366-67 (9th Cir. 1987).
 18             7.     This Court has the inherent equitable power to order the return of Plaintiffs’
 19   personal property separate and apart from Rule 41(g). see Otonye v. United States, 903 F. Supp.
 20   357, 360 (E.D.N.Y. 1995).
 21             8.     This Court has the authority to award damages against law enforcement agents for
 22   wrongful taking and for wrongful retention of property pursuant to the Federal Tort Claims Act
 23   and Ninth Circuit precedent in CHoPP Computer Corp. v. United States, 5 F.3d 1344 (9th Cir.
 24   1993).
 25             9.     This Court also has the authority to award damages against the law enforcement
 26   agents who engaged in the unlawful search and seizure of Plaintiffs’ property pursuant to the
 27   United States Supreme Court’s decision in Bivens v. Six Unknown Named Agents of the Federal
 28   Bureau of Narcotics, 403 U.S. 388 (1971) (“Bivens”), and its progeny.
                                                         4
                                                    COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 5 of 31 Page ID #:5




  1              10.     This Court has the authority to grant the declaratory relief sought herein pursuant

  2   to the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, and Federal Rules of Civil

  3   Procedure § 57.

  4              11.     This Court has the authority to order the government to disclose to Plaintiffs’

  5   counsel any inventory of the contents of the safe deposit box pursuant to Federal Rules of Criminal

  6   Procedure § 41(f) (“Rule 41(f)”).

  7              12.     Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b)(1), (2) and (3) and

  8   (e)(1) because Defendants include officers and employees of the United States and its agencies
  9   and, on information and belief, they reside in this district; because a substantial part of the events
 10   and/or omissions giving rise to the claims alleged herein occurred in this district; and because a
 11   substantial part of the property that is the subject of this action is situated in this district.
 12       III.         PARTIES
 13              A. Plaintiffs

 14              13.     Plaintiffs Donald Leo Mellein and Paula Margarita Villegas de Mellein, are, and at

 15   all relevant times were, individuals over the age of 18 and residing in Los Angeles County,

 16   California.

 17              B. Defendants

 18              14.     Defendant United States of America is, and at all relevant times was, the United

 19   States, its departments, agencies, and entities, including those responsible for the Fourth and Fifth

 20   Amendment violations alleged in this action.

 21              15.     Defendant Wilkison is, and at all relevant times was, the Acting United States

 22   Attorney for the Central District of California (the “U.S. Attorney”). The U.S. Attorney has

 23   authority over all policies and practices of the USAO, and all actions taken by Assistant United

 24   States Attorneys for the Central District of California. Defendant Wilkison is sued in her official

 25   capacity only.

 26              16.     Defendant Koons Johnson is, and at all relevant times was, the Assistant Director

 27   in Charge of the FBI’s Los Angeles Field Office (the “Assistant Director”). The Assistant Director

 28   has authority over the policies and procedures implemented by, and the actions of, FBI agents

                                                           5
                                                      COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 6 of 31 Page ID #:6




  1   assigned to the Los Angeles Field Office. Defendant Koons Johnson is sued in her official and

  2   individual capacities.

  3             17.     Defendant Lynne Zellhart is, and at all relevant times was, the lead agent assigned

  4   to the search and seizure at U.S. Private Vaults, Inc. Agent Zellhart supervised, participated in,

  5   and/or otherwise aided and assisted the unlawful search and seizure of Plaintiffs’ safe deposit box

  6   and its contents, and is jointly and severally responsible and liable for the damage and harm caused

  7   to Plaintiffs.

  8             18.     Plaintiffs are unaware of the true names and capacities of those Defendants sued as
  9   DOES 1-10, and therefore sues those Defendants using their fictitious names. On information and
 10   belief, each such Defendant is a federal law enforcement agent who supervised, participated in, or
 11   otherwise aided and assisted the unlawful search and seizure of Plaintiffs’ safe deposit box and its
 12   contents, and is jointly and severally responsible and liable for the damage and harm caused to
 13   Plaintiffs. Plaintiffs will amend this pleading to allege the true names and capacities of DOES 1-
 14   10 when they have been ascertained.
 15       IV.         RELATED CASES
 16             19.     This case is related to the following civil cases pending in this district before United
 17   States District Judge Gary R. Klausner:
 18       (a) John Doe v. United States of America, et al.,

 19       Case No. 2:21-cv-02803, filed on March 31, 2021;

 20       (b) Richard Roe v. United States of America, et al.,

 21       Case No. 2:21-cv-02919, filed on April 5, 2021;

 22       (c) Michael Moe v. United States of America, et al.,

 23       Case No. 2:21-cv-02990, filed on April 6, 2021;

 24       (d) Charles Coe v. United States of America, et al.,

 25       Case No. 2:21-cv-03019, filed on April 7, 2021;

 26       (e) DOES 1-6 v. United States of America, at al., Case No. 2:21-cv-

 27       03254, filed on April 15, 2021;

 28       (f) Mitchell Magee v. United States of America, et al.,
                                                           6
                                                      COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 7 of 31 Page ID #:7




  1      Case No. 2:21-cv-03298, filed on April 16, 2021;

  2      (g) Louis Loe v. United States of America, et al.,

  3      Case No. 2:21-cv-03348, filed on April 19, 2021;

  4      (h) Search and Seizure of Box No. 8309 at U.S. Private Vaults

  5      Case No. 2:21-cv-03554, filed on April 26, 2021; and

  6      (i) John Joe v. United States, et al.,

  7      Case No. 2:21-cv-04366, filed on May 25, 2021.

  8           20.     This case is related to the above civil cases pursuant to Local Rule 83-1.3, in that:
  9   (a) they all arise from the same or closely related transactions, happenings and events; (b) they all
 10   call for the determination of the same or substantially related or similar questions of law and fact;
 11   and (c) because they all name the United States as a defendant and seek some of the same relief,
 12   they would entail substantial duplication of effort if heard by different judges.
 13      V.         STATEMENT OF FACTS
 14           21.     Plaintiffs request that the Court take judicial notice of all filings before this Court
 15   arising from the search of USPV and, ¶¶ 22 through 57 contained in the Statement of Facts to the
 16   Complaint of John Joe v United States et al., Case No. 2:21-cv-04366.
 17           A. Defendants’ search and seizure of Plaintiffs’ property at USPV.
 18           22.     Plaintiffs leased safe deposit Box #224 at USPV. They were given the only two

 19   keys to Box #224 and have maintained control over Box #224 since commencement of their lease

 20   in September 2017. Plaintiff Donald Mellein has one of the keys and Plaintiff Paula Margarita

 21   Villegas de Mellein has the other. As of the time of the search and seizure of USPV by the FBI,

 22   Plaintiffs were current on their rent payments and had an expectation of privacy in the interior of

 23   Box #224 and its contents.

 24           23.     Neither of Plaintiffs are owners, officers, directors, managers, supervisors,

 25   employees, or representatives of USPV, and are not associated with or a customer of the Gold

 26   Business that is co-located with or adjacent to USPV. Plaintiffs were not aware of any criminal

 27   activity occurring at or connected to USPV. Plaintiffs would not have rented Box #224 or

 28   continued to rent Box #224 at USPV if they had become aware of any such activity.
                                                         7
                                                   COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 8 of 31 Page ID #:8




  1             24.   Plaintiffs’ property was in their safe deposit Box #224 when the Government seized

  2   control of USPV and the nests of other safe deposit boxes at USPV on or about March 22, 2021.

  3             25.   Plaintiffs invested their retirement savings and inheritance for their 19-year-old son

  4   in a collection of gold coins and one gold bar that they stored at USPV along with cash from an

  5   auto accident settlement. Specifically, Plaintiffs’ safe deposit Box #224 contained (a)

  6   miscellaneous papers, including a receipt for 20 of the 110 gold coins stored in Box #224; (b) one

  7   gold bar; (c) $57,434.61 in US currency; and (d) 110 one-ounce gold coins – which included 30

  8   Canadian maple leaf gold coins and 80 American Eagle going coins. Defendants have already
  9   implicitly acknowledged by returning some of Plaintiffs’ property that the contents of Box #224
 10   were not contraband or otherwise connected to criminal activity. Affixed to the top of Box #224
 11   was Donald Mellein’s name and contact information and name and contact information for the
 12   successor trustee in the event Plaintiffs died or wered otherwise incapacitated.
 13             26.   As this Court is now aware, beginning on March 22, 2021, Defendants executed
 14   search and seizure warrants at USPV. Among other things, Defendants seized each of the hundreds
 15   of safe deposit boxes housed at the facility, along with the contents of each box belonging to the
 16   individual box holders who rented them. Plaintiffs’ Box #224 and its contents were among those
 17   seized.
 18             B. Plaintiffs’ background and purchase of gold coins.

 19             27.   In 1966, Don Leo Mellein left his job with Security Pacific Bank and tested with

 20   the City of Los Angeles Department of Water and Power. After passing the test, he was hired as

 21   an Assistant Steam Plan Operator at the Van Nuys DWP plant. He went on to work his way up

 22   through various positions in DWP, participating in major projects including the Pacific Northwest

 23   Intertie and the building of the Castaic dam. In 1979, he transferred to Parks and Recreation as an

 24   electrician and electrical supervisor. Eventually, in approximately 1984, he transferred to the

 25   General Services Division where he rose to the position of Building Maintenance District

 26   Supervisor. He was in this position when he retired on March 6, 2000, after 24 years of service to

 27   the City of Los Angeles.

 28             28.   Paula Margarita Villegas was born April 15, 1961 in El Salvador. Paula grew up
                                                        8
                                                   COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 9 of 31 Page ID #:9




  1   in El Salvador during periods of political instability and violent unrest, including civil war. One of

  2   her brothers was kidnapped and killed by guerillas. She spoke out against communism and

  3   experienced great personal hardship at the hands of the government as a result. She eventually fled

  4   to America in 1981.

  5          29.     Soon after Paula arrived in the United States, Donald and Paula met, began dating,

  6   and were married in 1986. After his retirement from the City of Los Angeles in 2000, Donald had

  7   plans to do volunteer work for the Salvation Army, but this was derailed when Paula decided she

  8   wanted to have a baby before it was too late. (She was 40.) She became pregnant and the pregnancy
  9   was difficult. At the time, she and Donald were living in a four-story house in Malibu at 2955
 10   Sequit Drive. Paula was bedridden for most of the pregnancy, which was touch and go as to
 11   whether the baby would be carried to term. Donald cared for Paula throughout the pregnancy.
 12          30.     On May 26, 2002, the baby was born, a son, William Alexander Villegas-Mellein.
 13   William was born with severe health problems, including hip displacement which resulted in him
 14   being placed in a full-body cast, then a harness. After treatment for 18 months, he was able to stand
 15   and eventually was able to overcome his health problems. Today William lives with his family
 16   and is employed by Trader Joe's.
 17          31.     To help provide for their new family, in 2002, Donald and Paula sold their four-
 18   story house in Malibu for $895,000. The mortgage was fully paid at that point, so Donald and

 19   Paula netted approximately $800,000. A very substantial amount of these proceeds remained intact

 20   and were available to Donald and Paula as they began to buy gold coins in 2005.

 21          32.     In the early 2000s, Donald became friendly with an elderly holocaust survivor, the

 22   owner of Kurt Jewelers in Los Angeles. Kurt spoke to Donald at length about the wisdom of opting

 23   out of the banking system for at least part of his personal wealth, due to the instability of the

 24   banking system, and what Kurt perceived to be the wisdom of owning gold. Donald had always

 25   maintained a somewhat skeptical view of the government and its institutions, and after listening to

 26   Kurt, Donald made his first purchase of gold coins on January 5, 2005, purchasing 30 gold one-

 27   ounce Canadian Maple leaf coins for $433 each, a total of $13,000. (Lieser Dec., ¶ 3, Ex A, 30

 28   gold coins receipt.) He used funds from his savings, mainly the proceeds from sale of the Malibu
                                                        9
                                                   COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 10 of 31 Page ID #:10




   1   property, to fund the purchase.

   2          33.     Donald’s next purchase of gold was 60 American Eagle one-ounce gold coins,

   3   purchased in March 2006 with the proceeds from liquidating his Great West Retirement Services

   4   account, for which he received a check in the amount of $57,434.61. He cashed the check on March

   5   16, 2006, and after paying taxes used the remainder to buy the 60 gold coins.

   6          34.     Donald’s final purchase of gold coins took place on May 5, 2008, when he bought

   7   20 American Eagle one-ounce coins at approximately $900 each, for a total purchase of

   8   approximately $18,000, paid from savings. The receipt for this purchase was stored in Box #224
   9   at USPV and was returned to counsel by the FBI on June 14, 2021. (Lieser Dec., ¶ 4, Ex. C, 20
  10   gold coins receipt.)
  11          35.     Upon making each purchase of gold coins, Plaintiffs stored the coins in their safe
  12   deposit box at Wells Fargo Bank in Thousand Oaks. As time went on, Donald became
  13   progressively more concerned about banking instability. Paula mentioned seeing USPV when she
  14   drove on Olympic Blvd. The couple decided to move their property from Wells Fargo Bank in
  15   Thousand Oaks to USPV in September 2017. Their property remained there, at USPV, until it
  16   was seized by the FBI on or about March 22, 2021.
  17          36.     Plaintiffs frequented USPV to add to or check on the contents of their safe deposit
  18   Box #224 approximately three to four times a year since September 2017. During these visits,

  19   Donald added cash, documents, and on a few occasions, took out cash. The major cash infused

  20   came when Donald received a settlement of $145,000 in approximately 2017 to 2018 from an auto

  21   accident that nearly took his life. Plaintiffs last viewed the contents of Box #224, including their

  22   110 gold coins which were neatly stored in plastic vials, in January 2021. Plaintiffs have been

  23   unable to enter the USPV facility or access Box #224 or its contents since March 22, 2021.

  24          C. Defendants returned some, but not all, of Plaintiffs’ property.
  25          37.     Shortly after learning of the seizure of their property, around April 12, 2021,
  26   Plaintiffs’ counsel submitted a claim for return of property on behalf of Plaintiffs at
  27   forms.fbi.gov/uspvclaims and provided the law firm contact information. The form did not require
  28   the inclusion of a box number or box contents – it only requested name and contact information.
                                                       10
                                                   COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 11 of 31 Page ID #:11




   1    (Lieser Dec., ¶ 2.)

   2           38.     On or about May 24, 2021, Plaintiffs received via certified mail a notice of

   3   forfeiture of their property. The forfeiture notice did not identify all the property Plaintiffs had

   4   stored in Box #224. It failed to include approximately 110 gold coins belonging to Plaintiffs.

   5   (Lieser Dec., ¶ 3.)

   6           39.     On June 1, 2021, Plaintiffs’ counsel spoke with Agent Zellhart in connection with

   7   this matter. During that call Agent Zellhart agreed to remove Box #224 from the FBI forfeiture list

   8   and return the property identified as belonging to Box #224 to Plaintiffs. When counsel inquired
   9   regarding the status of Plaintiffs’ gold coins, which did not appear on the FBI forfeiture list, Agent
  10   Zellhart stated that perhaps the gold coins were separated from the rest of the property as not
  11   subject to forfeiture. It was counsels’ expectation that all of Plaintiffs’ property was to be returned,
  12   including the gold coins. (Marino Dec., ¶ 2.)
  13           40.     On June 14, 2021, Plaintiffs’ counsel met with FBI Agent Lynne Zellhart and
  14   another unidentified agent to obtain the contents of Box #224 that had been seized by Defendants.
  15   When the agents arrived with Box #224, they verified Plaintiffs’ ownership by testing the USPV
  16   key that counsel had brought. After the key turned the lock for Box #224, 1 the agents provided
  17   counsel with a property receipt for Box #224. (Lieser Dec. ¶ 4, Ex. B.). Notably, the receipt – and

  18   apparently the “inventory” form from which it was allegedly precisely copied – fails to include

  19   any record of the 110 gold coins seized on March 22, 2021.

  20           41.     Upon return from the FBI, Counsel Lieser immediately sent a letter to Agent

  21   Zellhart and copied AUSA Andrew Brown notifying them of the missing coins and requesting a

  22   copy of the video inventory. 2 (Lieser Dec., ¶ 5, Ex. D.) Counsel requested that Agent Zellhart

  23   respond to their request with urgency. Despite multiple follow-up attempts, counsel has not

  24   received a response from Agent Zellhart. That same day, counsel also left a voice message for

  25
       1
         Of note, the key did not actually retract the lock to the safe deposit box, it merely turned in the
  26   lock. Agent Zellhart stated, although not verbatim, “Well what do you say, should we trust
       them?” and proceeded to have her unidentified FBI agent assistant remove the contents of the
  27   box.
       2
  28     In the letter, counsel indicated there were 120 missing coins. After a thorough accounting, it
       has been determined there were approximately 110.
                                                         11
                                                     COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 12 of 31 Page ID #:12




   1   Agent Zellhart which was never returned. (Lieser Dec., ¶¶ 5-6.)

   2            42.      On June 21, 2021, Plaintiffs’ counsel left a voice message and an email for AUSA

   3   Andrew Brown again requesting a copy of the video inventory of Box #224 and on June 22, 2021,

   4   counsel attempted to reach Agent Zellhart over the phone, but her line continued to ring and

   5   eventually just cut off. Counsel then contacted the receptionist at the FBI who informed that an

   6   email message had been sent to Agent Zellhart. Later that same day, AUSA Brown returned

   7   counsel's call and informed counsel that the FBI's search and seizure at USPV was "not their finest

   8   moment." Counsel did not disagree. AUSA Brown then provided counsel with the phone number
   9   for FBI Associate Division Counsel Tammy Bloomfield whom AUSA Brown indicated would be
  10   the appropriate contact for requesting the video inventory. Counsel then attempted to reach Ms.
  11   Bloomfield; however, Ms. Bloomfield's number just rang and rang with no voicemail. Counsel
  12   then emailed Ms. Bloomfield requesting the video inventory and a return call. Counsel never
  13   received a response from Ms. Bloomfield. (Marino Dec., ¶ 3; Lieser Dec., ¶ 6.)
  14            43.      With no further non-litigious recourse and with Plaintiffs’ growing panic and
  15   emotional distress, Plaintiffs have filed this present Complaint to seek the Court’s intervention.
  16      VI.         RULE 41 AND THE COURT’S INHERENT POWER TO PROVIDE A
  17                  VEHICLE TO OBTAIN RELIEF

  18                  A. Plaintiffs are “aggrieved by the deprivation of their property” and are entitled
                         to a copy of the video inventory of Box #224.
  19
                44.      Federal Rule of Criminal Procedure 41(g) provides:
  20
                         Motion to Return Property. A person aggrieved by an unlawful
  21
                         search and seizure of property or by the deprivation of property may
  22
                         move for the property’s return. The motion must be filed in the
  23
                         district where the property was seized. The court must receive
  24
                         evidence on any factual issue necessary to decide the motion. If it
  25
                         grants the motion, the court must return the property to the movant
  26
                         but may impose reasonable conditions to protect access to the
  27
                         property and its use in later proceedings.
  28
                                                          12
                                                      COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 13 of 31 Page ID #:13




   1          45.     Plaintiffs are “aggrieved . . . by the deprivation of property,” namely the 110 one-

   2   ounce gold coins that Defendants have not returned to them. Plaintiffs seek the immediate return

   3   of their property.

   4          46.     Rule 41 is clear that “in a motion for return of property, as with any other equitable

   5   action, a court may fashion any appropriate relief that comports with traditional equitable

   6   principles” absent “clear Congressional command to exclude certain forms of relief.” United States

   7   v. Rodriguez, No. EP-08-1865-PRM, 2011 WL 5854369, at *3 (W.D. Tex. Feb. 18, 2011);

   8   Hunsucker v. Phinney, 497 F.2d 29, 34 (5th Cir. 1974) (“Rule 41 is a crystallization of the principle
   9   of equity jurisdiction. That equity jurisdiction persists as to situations not specifically covered by
  10   the Rule.”); see also United States v. Martinson, 809 F.2d 1364, 1367 (9th Cir. 1987) (reversing
  11   denial of Rule 41(g) motion because “[i]t is the historic purpose of equity secure complete justice.
  12   The courts will be alert to adjust their remedies so as to grant the necessary relief.”). The guiding
  13   principle of Rule 41(g) is “reasonableness under all of the circumstances.” Fed. R. Crim. P. 41(g)
  14   Advisory Comm. Notes (1989), 124 F.R.D. 397, 427-29.
  15          47.     In addition to the power granted by Rule 41, the Court has the inherent equitable
  16   power to consider motions for return of property. “This power stems from the court’s disciplinary
  17   authority over attorneys appearing before it as officers of the court. This inherent power also
  18   extends to federal agents charged with ‘observ[ing] ‘standards for law enforcement’ established

  19   by ‘the federal Rules governing searches and seizures.’” Otonye v. United States, 903 F. Supp.

  20   357, 360 (E.D.N.Y. 1995) (citations omitted).

  21          48.     Where, as here, the Government concedes that it must return a claimant’s property,

  22   the Government bears the initial burden of proving that it “observed standards . . . governing

  23   searches and seizures,” and handled the property consistent with proper protocols:

  24                  Since [] Plaintiff’s constitutional rights under the Fourth

  25                  Amendment are implicated, it makes sense that the government

  26                  should initially bear the burden of proving that it dealt with

  27                  Plaintiff’s property in accordance with regulations prescribed in 41

  28
                                                        13
                                                    COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 14 of 31 Page ID #:14




   1                  C.F.R. § 128.50–101[ 3] or other acceptable standards. Once this

   2                  showing is made, the burden should then shift to the claimant to

   3                  demonstrate the existence of the claimed property.

   4   Id. at 363 n.8; see also United States v. Cardona, 897 F. Supp. 802, 804 (S.D.N.Y. 1995) (“Clearly,

   5   the Government, in order to defeat a motion for the return of seized property, must provide some

   6   evidentiary proof accounting for the property seized.”). Thus, the Government should be prepared

   7   to provide this information.

   8          49.     Where, as here, no criminal proceeding is pending against a Rule 41(g) movant, the
   9   district court considers four factors in deciding whether to exercise jurisdiction over the movant’s
  10   request for relief: whether “(1) the Government displayed a callous disregard for the constitutional
  11   rights of the movant; (2) the movant has an individual interest in and need for the property he
  12   wants returned; (3) the movant would be irreparably injured by denying return of the property; and
  13   (4) the movant has an adequate remedy at law for the redress of his grievance.” United States v.
  14   Kama, 394 F.3d 1236, 1238 (9th Cir. 2005) (quoting Ramsden v. United States, 2 F.3d 322, 324-
  15   325 (9th Cir. 1993)) (internal citation marks omitted). Not all factors must weigh in the movant’s
  16   favor for the district court to exercise jurisdiction; rather, a court engages in a balancing test.
  17   Ramsden, 2 F.3d at 326 (exercising jurisdiction over Rule 41(g) motion despite finding that the
  18   plaintiff had not shown irreparable injury).

  19          50.     The Government’s failure to account for 110 gold coins and its provision of a

  20   patently deficient receipt which fails to include a complete accounting of all of Plaintiffs’ property

  21

  22   3
        This regulation applies to Justice Department agencies and provides:
  23   Each bureau shall be responsible for establishing and maintaining inventory records of its seized
       personal property to ensure that:
  24          (a) The date the property was seized is recorded;
  25          (b) All of the property associated with a case is recorded together under the case name
              and number;
  26          (c) The location of storage of the property is recorded;
  27          (d) A well-documented chain of custody is kept; and
              (e) All information in the inventory records is accurate and current.
  28
       41 C.F.R. § 128-50.101.
                                                         14
                                                      COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 15 of 31 Page ID #:15




   1   stored in Box #224 satisfies all four elements of Rule 41’s jurisdictional query: (1) failing to create

   2   or provide any useful inventory and losing Plaintiffs’ retirement assets and inheritance for their

   3   son is easily callous; (2) Plaintiffs have an individual interest in and need for their retirement funds

   4   and ability to continue to care for and provide for their son; (3) Plaintiffs would be irreparably

   5   injured by the loss of their assets; and (4) Plaintiffs have no adequate remedy at law for the redress

   6   of this grievance. Thus, Plaintiffs submit that the Court should exercise its jurisdiction to help

   7   them.

   8           51.      Because Plaintiffs have not been charged in any criminal proceeding – indeed
   9   Defendants have already returned some of their property and therefore impliedly concedes it had
  10   no probable cause to search or seize it – their Rule 41 motion is treated as a civil equitable
  11   proceeding. See, e.g., United States v. Ibrahim, 522 F.3d 1003, 1008 (9th Cir. 2008).
  12                 B. Plaintiffs are entitled to their as-yet-unreturned assets.
  13           52.      Federal Rule of Criminal Procedure 41(g) empowers the Court to order return of
  14   both lawfully and unlawfully seized property. The Rule provides that “[a]person aggrieved by . . .
  15   the deprivation of property may move for the property’s return” and “[i]f it grants the motion, the
  16   court must return the property to the movant[.]” Fed. R. Crim. P. 41(g). Rule 41(g) offers recourse
  17   for anyone “whose property or privacy interests are impaired by [a] seizure.” United States v.
  18   Comprehensive Drug Testing, Inc., 621 F.3d 1162, 1173 (9th Cir. 2010), overruled in part on other

  19   grounds as recognized by Demaree v. Pederson, 887 F.3d 870, 876 (9th Cir. 2018). Even if the

  20   original seizure was legal, Rule 41 provides for relief for the continued improper retention of

  21   property: “As amended, Rule 41[g] provides that . . . a person whose property has been lawfully

  22   seized may seek return of property when aggrieved by the government’s continued possession of

  23   it.” Fed. R. Crim. P. 41(g), Advisory Comm. Notes (1989), 124 F.R.D. 397, 427-429.

  24           53.      A court determines whether property should be returned to its owner based on

  25   “reasonableness under all of the circumstances.” Fed. R. Crim. P. 41(g) Advisory Comm. Notes

  26   (1989), 124 F.R.D. 397, 427-29; Ramsden, 2 F.3d at 326. The standard of proof is preponderance

  27   of the evidence. See Motion to Return Property, 3A Fed. Prac. & Proc. Crim. § 690 (4th ed.) (citing

  28   cases). Importantly, where, as here, the property at issue is not being held as part of a criminal
                                                         15
                                                     COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 16 of 31 Page ID #:16




   1   search or seizure, the property owner “is presumed to have a right to [the property’s] return, and

   2   the government has the burden of demonstrating that it has a legitimate reason to retain the

   3   property.” United States v. Gladding, 775 F.3d 1149, 1152 (9th Cir. 2014) (citing Martinson, 809

   4   F.2d at 1369 (alteration in original). Indeed, a property owner’s Rule 41(g) motion “should

   5   presumptively be granted if the government no longer needs the property for evidence.” United

   6   States v. Kriesel, 720 F.3d 1137, 1144 (9th Cir. 2013). The Government can rebut this presumption

   7   only with admissible evidence; mere arguments or assertions by Government attorneys are not

   8   sufficient. See Gladding, 775 F.3d at 1153 (“[R]epresentations are not evidence unless adopted by
   9   the opponent. The government failed to submit any evidence [supporting] a ‘legitimate reason’ for
  10   retention of the noncontraband files. For that reason, the government could not have carried its
  11   burden of proof[.]”); Motion to Return Property, 3A Fed. Prac. & Proc. Crim. § 690 (4th ed.) (“If
  12   factual issues need to be resolved to decide the motion, the court must receive evidence on the
  13   factual issues.”).
  14           54.     Even a temporary delay in returning property has Fourth Amendment ramifications.

  15   For example, the Ninth Circuit has found that a “30-day impound is a ‘meaningful interference

  16   with an individual’s possessory interests’” under the Fourth Amendment. Brewster v. Beck, 859

  17   F.3d 1194, 1196 (9th Cir. 2017) (quoting Soldal v. Cook County, 506 U.S. 56, 61 (1992)). This is

  18   true even when the original seizure was justified: “The Fourth Amendment doesn’t become

  19   irrelevant once an initial seizure has run its course. . . . Thereafter, the government must cease the

  20   seizure or secure a new justification.” Id. at 1197 (citing United States v. Jacobsen, 466 U.S. 109,

  21   124 & n.25 (1984)). Here, Defendants say the inventory and inspection were completed no later

  22   than March 26, 2021, when it ended its search of USPV. (Govt. Opp. to Ex Parte App. for TRO

  23   and OSC at 2, Doe v. United States, No. 2:21-cv-02803, Dkt. 15.) But the Defendants have

  24   continued the “impound” of Plaintiffs’ property for over two months now and still refuse to return

  25   it or even acknowledge Plaintiffs continued requests for the video inventory search. Defendants

  26   have no authority for the continued retention of Plaintiffs’ property and indeed have acknowledged

  27   that it does not by agreeing to return some of it. Defendants' retention, therefore, violates the Fourth

  28   Amendment.
                                                         16
                                                     COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 17 of 31 Page ID #:17




   1      VII.      RELEVANT PROVISIONS OF THE FEDERAL TORT CLAIMS ACT

   2          55.     Under the Federal Torts Claim Act (“FTCA”), United States “[D]istrict [C]ourts . .

   3   . shall have exclusive jurisdiction of civil actions on claims against the United States, for money

   4   damages . . . for injury or loss of property . . . caused by the negligent or wrongful act or omission

   5   of any employee of the Government while acting within the scope of his office or employment,

   6   under circumstances where the United States, if a private person, would be liable to the claimant

   7   in accordance with the law of the place where the act or omission occurred.” 28 U.S.C. § 1346.

   8   With respect to tort claims under the FTCA, “[t]he United States shall be liable . . . in the same
   9   manner and to the same extent as a private individual under like circumstances, but shall not be
  10   liable for interest prior to judgment or for punitive damages.” 28 U.S.C. § 2674. The FTCA applies
  11   to “any claim based on injury or loss of goods, merchandise, or other property, while in the
  12   possession of any [] law enforcement officer.” 28 U.S.C. § 2680(c).
  13          56.     A conversion claim may be brought against the federal government under
  14   California law in conjunction with the FCTA. CHoPP Computer Corp. v. United States, 5 F.3d
  15   1344, 1347 (9th Cir. 1993). Under California law, “[c]onversion is the wrongful exercise of
  16   dominion over the property of another. The elements of a conversion claim are: (1) the plaintiff's
  17   ownership or right to possession of the property; (2) the defendant's conversion by a wrongful act
  18   or disposition of property rights; and (3) damages.” Burlesci v. Petersen, 68 Cal. App. 4th 1062,

  19   1066 (1998).

  20          57.     Plaintiffs owned 110 one oz. gold coins which were stored in their safe deposit box

  21   until the government wrongfully took possession of the box and hence the coins. Plaintiffs’

  22   property is not being held pursuant to any sort of criminal investigation nor is the Government

  23   seeking forfeiture of said property. Yet Defendants refuse to return the remainder of Plaintiffs’

  24   property. Since there is no legal basis for the continued detention of Plaintiffs’ property,

  25   Defendants have engaged in a wrongful taking of Plaintiffs’ property entitling Plaintiffs to return

  26   of said property and damages.

  27      VIII. RELEVANT SEARCH AND SEIZURE LAW

  28          58.     Not only are Defendants actively violating Plaintiffs’ Fourth Amendment rights
                                                        17
                                                    COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 18 of 31 Page ID #:18




   1   through the wrongful detention of their property, but the initial search and seizure of Plaintiffs’

   2   safe deposit box was in violation of Plaintiffs’ Fourth Amendment rights. The Fourth Amendment

   3   to the United States Constitution provides that, “[t]he right of the people to be secure in their

   4   persons, houses, papers, and effects, against unreasonable searches and seizures, shall not be

   5   violated, and no Warrants shall issue, but upon probable cause, supported by Oath or affirmation,

   6   and particularly describing the place to be searched, and the persons or things to be seized.” U.S.

   7   Const., amend IV. “The Fourth Amendment protects two types of expectations, one involving

   8   ‘searches,’ the other ‘seizures.’ A ‘search’ occurs when the government intrudes upon an
   9   expectation of privacy that society is prepared to consider reasonable. A ‘seizure’ of property
  10   occurs when there is some meaningful interference with an individual’s possessory interests in that
  11   property.” Lavan v. City of Los Angeles, 693 F.3d 1022, 1027 (9th Cir. 2012) (quoting United
  12   States v. Jacobsen, 466 U.S. 109, 113 (1984)). There is no question both occurred here. All of
  13   Plaintiffs’ possessions in Box #224 were searched and were seized—but at issue here are solely
  14   the 110 missing gold coins.
  15          A. The Probable Cause requirement
  16          59.     The confiscation, detention, inspection, and/or cataloging of the contents of a safe
  17   deposit box containing private property is a search and seizure for purposes of the Fourth
  18   Amendment. See, e.g., United States v. Chadwick, 433 U.S. 1, 11 (1977) (“By placing personal

  19   effects inside a double-locked footlocker, respondents manifested an expectation that the contents

  20   would remain free from public examination.”), abrogated on other grounds by California v.

  21   Acevedo, 500 U.S. 565 (1991); United States v. Spilotro, 800 F.2d 959, 962 (9th Cir. 1986) (“We

  22   begin by noting that there is no question that defendant Blasko has standing to challenge the search

  23   of his home, person, and safe deposit box.”); United States v. Wetselaar, 2013 WL 8206582, *10

  24   (D. Nev. Dec. 31, 2013) (“[A]s renters of those boxes, Defendants had a reasonable expectation of

  25   privacy in the contents, which include the space inside the box and the inner metal liner itself.”).

  26          60.     The Supreme Court has made clear that a warrant must describe the places to be

  27   searched and the items to be seized with particularity and supported by probable cause specific to

  28   those places and items:
                                                        18
                                                   COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 19 of 31 Page ID #:19




   1                  The Warrant Clause of the Fourth Amendment categorically

   2                  prohibits the issuance of any warrant except one “particularly

   3                  describing the place to be searched and the persons or things to be

   4                  seized.” The manifest purpose of this particularity requirement was

   5                  to prevent general searches. By limiting the authorization to search

   6                  to the specific areas and things for which there is probable cause to

   7                  search, the requirement ensures that the search will be carefully

   8                  tailored to its justifications, and will not take on the character of the
   9                  wide-ranging exploratory searches the Framers intended to prohibit.
  10                  Thus, the scope of a lawful search is "defined by the object of the
  11                  search and the places in which there is probable cause to believe that
  12                  it may be found. Just as probable cause to believe that a stolen
  13                  lawnmower may be found in a garage will not support a warrant to
  14                  search an upstairs bedroom, probable cause to believe that
  15                  undocumented aliens are being transported in a van will not justify
  16                  a warrantless search of a suitcase."
  17   Maryland v. Garrison, 480 U.S. 79, 84 (1987) (quoting United States v. Ross, 456 U.S. 798, 824
  18   (1982)); accord United States v. SDI Future Health, Inc., 568 F.3d 684, 702-703 (9th Cir. 2009)

  19   (“A warrant must not only give clear instructions to a search team, it must also give legal, that is,

  20   not overbroad, instructions. Under the Fourth Amendment, this means that there [must] be

  21   probable cause to seize the particular thing[s] named in the warrant. [P]robable cause means a fair

  22   probability that contraband or evidence of a crime will be found in a particular place, based on the

  23   totality of circumstances.”) (citations and quotation marks omitted).

  24          61.     Consequently, the search of a place or the seizure of an item pursuant to an

  25   overbroad warrant for which there is no specific probable cause is invalid. See United States v.

  26   Know, 58 F.3d 423, 427 (9th Cir. 1995) (“The warrant authorized the seizure of virtually every

  27   document and computer file at HK Video . . . . [T]he warrant contained no limitations on which

  28   documents within each category could be seized or suggested how they related to specific criminal
                                                         19
                                                    COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 20 of 31 Page ID #:20




   1   activity. By failing to describe with any particularity the items to be seized, the warrant is

   2   indistinguishable from the general warrants repeatedly held by this court to be unconstitutional.”).

   3           62.       Moreover, probable cause in the warrant context requires more than “mere

   4   suspicion” that the place to be searched or the item to be seized is connected to criminal activity;

   5   it requires an “evidentiary nexus” to the alleged criminal activity. United States v. Wanless, 882

   6   F.2d 1459, 1466 (9th Cir. 1989) (“Even if the evidence here would . . . justify the . . . suspicion

   7   that there were illegal substances . . . [m]ere suspicion does not rise to the level of probable cause.”)

   8   (internal quotations omitted); United States v. Schultz, 14 F.3d 1093, 1097-98 (6th Cir. 1994)
   9   ("While an officer's 'training and experience' may be considered in determining probable cause, it
  10   cannot substitute for the lack of evidentiary nexus . . . between the safe-deposit boxes and any
  11   criminal activity. Officer Ideker did not have anything more than a guess that contraband or
  12   evidence of a crime would be found in the boxes, and therefore the . . . warrant should not have
  13   been issued.”).
  14           B. The Government cannot deliberately or recklessly mislead the issuing Magistrate
  15              Judge.
               63.       It is also well established that a warrant based upon deliberately or recklessly false
  16
       or misleading information material to the issue of probable cause is invalid, in whole or in part. As
  17
       the Supreme Court has decreed:
  18
                         [W]hen the Fourth Amendment demands a factual showing
  19
                         sufficient to comprise “probable cause,” the obvious assumption is
  20
                         that there will be a truthful showing. This does not mean ‘truthful’
  21
                         in the sense that every fact recited in the warrant affidavit is
  22
                         necessarily correct, for probable cause may be founded upon
  23
                         hearsay and upon information received from informants, as well as
  24
                         upon information within the affiant's own knowledge that
  25
                         sometimes must be garnered hastily. But surely it is to be ‘truthful’
  26
                         in the sense that the information put forth is believed or
  27
                         appropriately accepted by the affiant as true. It is established law,
  28
                                                           20
                                                      COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 21 of 31 Page ID #:21




   1                  that a warrant affidavit must set forth particular facts and

   2                  circumstances underlying the existence of probable cause, so as to

   3                  allow the magistrate to make an independent evaluation of the

   4                  matter. If an informant's tip is the source of information, the affidavit

   5                  must recite some of the underlying circumstances from which the

   6                  informant concluded that relevant evidence might be discovered,

   7                  and some of the underlying circumstances from which the officer

   8                  concluded that the informant, whose identity need not be disclosed,
   9                  . . . was “credible” or his information “reliable.” Because it is the
  10                  magistrate who must determine independently whether there is
  11                  probable cause, it would be an unthinkable imposition upon his
  12                  authority if a warrant affidavit, revealed after the fact to contain a
  13                  deliberately or reckless false statement, were to stand beyond
  14                  impeachment.”
  15   Franks v. Delaware, 438 U.S. 154, 164-65 (1984) (citations and internal quotations omitted,
  16   emphasis in original); see also United States v. Perkins, 850 F.3d 1109, 1123 (9th Cir. 2017) (“We
  17   hold that the district court clearly erred in finding that Agent Ensley did not omit relevant
  18   information with at least a reckless disregard for whether the omissions would render the warrant

  19   application misleading. Had the omitted information been included, the application would not have

  20   supported probable cause. We, therefore, reverse the district court's denial of the motion to

  21   suppress evidence obtained pursuant to the search warrant, and vacate Perkins’ conviction.”).

  22          64.     The “good faith” exception to a legally insufficient search or seizure warrant,

  23   recognized by the Supreme Court in United States v. Leon, 468 U.S. 897 (1984), does not apply

  24   where the warrant is “so lacking in indicia of probable cause as to render official belief in its

  25   existence entirely unreasonable.” Id. at 923; see also United States. v. Underwood, 725 F.3d 1076,

  26   1085-86 (9th Cir. 2013) (“An affidavit is so lacking in indicia of probable cause, or bare bones,

  27   when it fails to provide a colorable argument for probable cause. A colorable argument is made

  28   when ‘thoughtful and competent judges’ could disagree that probable cause does not exist. Here .
                                                         21
                                                    COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 22 of 31 Page ID #:22




   1   . . the affidavit submitted . . . in support of the state search warrant . . . was so deficient as to render

   2   official belief in its existence entirely unreasonable.”) (citations omitted).

   3           65.     Thus, “[a]n inventory search will not be sustained where the court believed that the

   4   officers were searching for incriminating evidence of other offenses.” United States v. Feldman,

   5   788 F.2d 544, 553 (9th Cir. 1986).

   6           66.     In the course of an inventory search, Government agents are not permitted to read

   7   written documents, as they may contain information that goes well beyond the allowed limited

   8   scope of an inventory search. See United States v. Khoury, 901 F.2d 948, 959 (11th Cir. 1990)
   9   (reading diary during inventory search was a Fourth Amendment violation; the government agent
  10   was only allowed to flip through the diary to see if any separate document or object was stuck
  11   between its pages); see also United States v. Santos, 961 F.Supp. 71, 73–74 (S.D.N.Y.1997)
  12   (finding that reading all written material among defendant's possessions during inventory search
  13   was an “affirmative, investigatory act” in violation of the Fourth Amendment).
  14           C. Relevant Fifth Amendment Due Process Law.
  15           67.     The Due Process Clause of the Fifth Amendment to the United States Constitution
  16   provides that, “[n]o person shall be . . . deprived of life, liberty, or property, without due process
  17   of law.” U.S. Const., amend. V.
  18           68.     The government’s continued retention of seized property – even if initially lawful

  19   – raises the issue of procedural due process. See Case v. Eslinger, 555 F.3d 1317, 1330 (11th Cir.

  20   2009) (“A complaint of continued retention of legally seized property raises an issue of procedural

  21   due process. . .”); see also Al Haramain Islamic Foundation v. U.S. Dept. of Treasury, 686 F.3d

  22   965, 980 (9th Cir. 2012) (“[T]he Constitution does require that the government take reasonable

  23   measures to ensure basic fairness to the private party and that the government follow procedures

  24   reasonably designed to protect against erroneous deprivation of the private party’s interests.”);

  25   Lewis v. City of Culver City, 2018 WL 1406609, *2 (C.D. Cal. Mar. 19, 2018) (“[T]he continued

  26   retention of legally seized property would raise an issue of procedural due process . . . .”); Lena

  27   Sutton v. Leesburg, Alabama, 2021 WL 1264244, *13 (N.D. Ala. Apr. 6, 2021) (“[T]he continued

  28   retention of legally seized property. . . raises an issue of procedural due process.”).
                                                           22
                                                      COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 23 of 31 Page ID #:23




   1          D. Bivens.

   2          69.     In Bivens v. Six Unknown Named Agents of the Federal Bureau of Narcotics, 403

   3   U.S. 388 (1971), the Supreme Court held that "violation of [the Fourth Amendment's] command

   4   by a federal agent acting under color of his authority gives rise to a cause of action for damages

   5   consequent upon his unconstitutional conduct," id. at 389, and that a plaintiff “is entitled to recover

   6   money damages for any injuries he has suffered as a result of the agent’s violation of the

   7   Amendment.” Id. at 397; see also Boule v. Egbert, 980 F.3d 1309, 1315 (9th Cir. 2020) (Plaintiffs’

   8   “Fourth Amendment claim . . . is a permissible area for Bivens claims,” and thus “may proceed as
   9   a Bivens damages claim.”)
  10          70.     The Supreme Court has long held that punitive damages may be awarded in a
  11   Bivens action. See Carlson v. Green, 446 U.S. 14, 22 (1980) (“Punitive damages are ‘a particular
  12   remedial mechanism normally available in the federal courts,’ and are especially appropriate to
  13   redress the violation by a government official of a citizen's constitutional rights.”) (citation
  14   omitted).
  15          E. Defendants unlawfully searched, seized, and deprived Plaintiffs of their property.
  16          71.     Defendants’ search of Plaintiffs’ safe deposit Box #224 and continued detention of
  17   their property was, and is, unlawful and unconstitutional in the following respects, among others.
  18          72.     First, the seizure warrant for Plaintiffs’ Box #224 was invalid because Defendants
  19   lacked any probable cause that the contents of the box were contraband or otherwise connected to
  20   criminal activity. That the Defendants lacked probable cause is manifest on the face of the seizure
  21   warrant which, expressly states that “[t]his warrant does not authorize a criminal search or seizure
  22   of the contents of the safety deposit boxes.” It is also evident from the supporting affidavit, which
  23   expressly states that “[t]he warrants authorize seizure of the nest of boxes themselves, not their
  24   contents.” Finally, it is evident since the government returned some of Plaintiffs’ property.
  25   (Unsealed redacted affidavit available at https://www.documentcloud.org/documents/21037781-
  26   uspv-aff-under-seal_redacted.)
  27          73.     Second, based on the affidavit to the search warrant, there is no probable cause to
  28   search and/or seize the contents of Plaintiff’s Box #224. (Id.)
                                                         23
                                                    COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 24 of 31 Page ID #:24




   1          74.       Third, Defendants cannot avail themselves of the good faith exception to a facially

   2   deficient seizure warrant because the warrant was so lacking in indicia of probable cause with

   3   respect to Plaintiffs’ safe deposit box and its contents as to render official belief in the existence

   4   of such probable cause entirely unreasonable. Indeed, the warrant expressly states that it does not

   5   authorize the search or seizure of any box, including Plaintiffs, for purposes of criminal

   6   investigation.

   7          75.       Fourth, Defendants acted unreasonably in breaking open Plaintiffs’ box because

   8   they lacked probable cause that the contents of the box were contraband or otherwise connected to
   9   criminal activity, and by breaking it open, Defendants needlessly subjected its contents to theft
  10   and government tampering.
  11          76.       Fifth, Defendants purported “inventory search” of Plaintiffs’ box was unlawful
  12   because their seizure was invalid in the first place, as entirely lacking in probable cause.
  13          77.       Sixth, Defendants purported “inventory search” of Plaintiffs’ box was also
  14   unlawful as it was, in fact, a pretext for conducting an investigatory search, the true purpose of
  15   which was to further Defendants’ indiscriminate criminal investigation of USPV box holders.
  16          78.       Seventh, Defendants purported “inventory search” of Plaintiffs’ box was also
  17   unlawful because it was not required by or conducted pursuant to established and standardized
  18   agency policies and procedures. By way of example, and without limitation, under the

  19   Government’s inventory search policies, the Government is only permitted to conduct an inventory

  20   search as far as needed to “determine ownership” and “should extend no further.” Here, there was

  21   no need for the Government to conduct an inventory search of the contents of Plaintiffs’ box to

  22   determine ownership because Plaintiffs’ name and telephone number, and other identifying

  23   information were affixed to the top of Plaintiffs’ box. Despite this readily available information,

  24   the Government made no effort to contact Plaintiffs before searching and seizing Plaintiffs’ box

  25   and its contents.

  26          79.       Eighth, since Defendants completed inventorying the contents of Plaintiffs’ box on

  27   or about March 26, 2021, Defendants have deprived Plaintiffs of the use, benefit, and enjoyment

  28   of their property without due process by failing to return Plaintiffs’ missing property.
                                                        24
                                                    COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 25 of 31 Page ID #:25




   1      IX.         CONCLUSION

   2            80.     Defendants concede that it must return Plaintiffs’ property, and it has already done

   3   so for some of it. But Defendants have yet to return approximately $220,000 worth of gold coins

   4   belonging to Plaintiffs which they are clearly entitled to under Rule 41, the FCTA and the Fourth

   5   Amendment. Plaintiffs therefore respectfully assert the following causes of action.

   6

   7

   8
   9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                                         25
                                                    COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 26 of 31 Page ID #:26




   1                                    FIRST CAUSE OF ACTION

   2                           (For Return of Property Pursuant to FRCP § 41(g)

   3                 (Against Defendants United States, Wilkinson, and Koons Johnson)

   4          81.        Plaintiffs repeat and reallege paragraphs 1 through 80 of this Complaint as if fully

   5   alleged herein.

   6          82.        Federal Rules of Criminal Procedure § 41(g) provides that, “[a] person aggrieved

   7   by an unlawful search and seizure of property or by the deprivation of property may move for the

   8   property’s return …”
   9          83.        Plaintiff is a “person aggrieved” within the meaning of Rule 41(g) because, as
  10   described more fully above:
  11          (a) Defendants unlawfully seized their safe deposit box at USPV and its contents, in
  12                violation of their Fourth Amendment rights;
  13          (b) Defendants unlawfully searched that box and its contents, in further violation of their
  14                Fourth Amendment rights; and
  15          (c) Defendants have unlawfully deprived (and continue to deprive) Plaintiffs of the use,
  16                benefit, and enjoyment of their property, in violation of their Fifth Amendment due
  17                Process rights.
  18          84.        Because Defendants’ conduct as described herein constituted an unlawful search

  19   of Plaintiffs’ safe deposit box and its contents, an unlawful seizure of Plaintiffs’ box and its

  20   contents, an unlawful taking of Plaintiffs’ box and its contents, and an unlawful deprivation of

  21   Plaintiffs’ property without due process, Plaintiffs are entitled to the return of their property

  22   under Rule 41(g).

  23

  24

  25

  26

  27

  28
                                                          26
                                                     COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 27 of 31 Page ID #:27




   1                                      SECOND CAUSE OF ACTION

   2     (For Return of Property or Damages in an Amount Equal to the Value of the Property

   3                                 Pursuant to 28 U.S.C. §§ 1346, 2647 and

   4                          CHoPP Computer Corp., 5 F.3d 1344 (9th Cir. 1993))

   5                     (Against Koons Johnson individually, Zellhart and DOES 1-10)

   6          85.        Plaintiffs repeat and reallege paragraphs 1 through 84 of this Complaint as if fully

   7   alleged herein.

   8          86.        Under California conversion law and the FCTA, Plaintiffs’ safe deposit box and
   9   its contents may not be wrongfully taken or otherwise converted by the federal government.
  10          87.        Defendants Koons Johnson, Zellhart and DOES 1-10, as agents of the United
  11   States acting under color of authority, wrongfully took or otherwise converted Plaintiffs’
  12   property in violation of California law.
  13          88.        Because Defendants Koons Johnson, Zellhart and DOES 1-10's conduct as
  14   described herein constituted an unlawful taking of the gold coins in Plaintiffs' safe deposit box
  15   and an unlawful deprivation of Plaintiffs' property, Plaintiffs are entitled to return of their
  16   property, or if the property has been otherwise lost or stollen, compensatory damages in the
  17   amount equal to the value of the property.
  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                                          27
                                                     COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 28 of 31 Page ID #:28




   1                                       THIRD CAUSE OF ACTION

   2                         (For Damages Pursuant to Bivens, 403 U.S. 388 (19791))

   3                     (Against Koons Johnson individually, Zellhart and DOES 1-10)

   4          89.        Plaintiffs repeat and reallege paragraphs 1 through 88 of this Complaint as if fully

   5   alleged herein.

   6          90.        Under the Fourth Amendment, Plaintiffs’ safe deposit box and its contents may

   7   not be searched and seized without probable cause.

   8          91.        Under the Fifth Amendment, Plaintiffs may not be deprived of the use, benefit,
   9   and enjoyment of their property without due process of law.
  10          92.        Defendants Koons Johnson, Zellhart and DOES 1-10, as agents of the United
  11   States acting under color of authority, further violated Plaintiffs’ Fourth Amendment rights by
  12   searching their safe deposit box without probable cause.
  13          93.        Defendants Koons Johnson, Zellhart and DOES 1-10, as agents of the United
  14   States acting under color of authority, violated Plaintiffs’ Fourth Amendment rights by seizing
  15   their safe deposit box and its contents without probable cause.
  16          94.        Defendants Koons Johnson, Zellhart and DOES 1-10, as agents of the United
  17   States acting under color of authority, also violated Plaintiffs’ Fifth Amendment rights by
  18   depriving Plaintiffs of the use, benefit, and enjoyment of the property they were storing in their

  19   safe deposit box without due process of law.

  20          95.        Because Defendants Koons Johnson’s, Zellhart’s and DOES 1-10’s conduct as

  21   described herein constituted an unlawful search of Plaintiffs' safe deposit box and its contents, an

  22   unlawful seizure of Plaintiffs’ box and its contents, and an unlawful deprivation of Plaintiffs’

  23   property without due process, Plaintiffs are entitled to damages under Bivens, 403 U.S. 388

  24   (1971), and its progeny, including, but not limited to, punitive and exemplary damages.

  25

  26

  27

  28
                                                          28
                                                     COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 29 of 31 Page ID #:29




   1                                   FOURTH CAUSE OF ACTION

   2                   (For Order Disclosing Video Inventory Pursuant to Rule 41(f)

   3                                   and the Court’s Inherent Power)

   4                 (Against Defendants United States, Wilkison, and Koons Johnson)

   5          96.     Plaintiff repeats and realleges paragraphs 1 through 95 of this Complaint as if

   6   fully alleged herein.

   7          97.     Federal Rule of Criminal Procedure 41(f)(1)(D) provides, in relevant part, that

   8   “[t]he judge must, on request, give a copy of the inventory to the person from whom, or from
   9   whose premises, the property was taken and to the applicant for the warrant.”
  10          98.     The government has taken property from Plaintiffs, namely, 110 gold coins from
  11   their safe deposit box at USPV. Despite repeated requests, the Government has not provided
  12   Plaintiffs with the inventory of their property that was the product of Defendants’ purported
  13   inventory search of Plaintiffs’ safe deposit box. Accordingly, pursuant to Rule 41(f), Plaintiffs
  14   are entitled to receive any inventories of their property prepared by Defendants.
  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                                        29
                                                   COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 30 of 31 Page ID #:30




   1                                        PRAYER FOR RELIEF

   2          Plaintiffs pray for judgment against Defendants as follows:

   3          A.      For an order requiring Defendants to immediately return all 110 gold coins seized

   4   from Plaintiffs’ Box No. 224 at USPV.

   5          B.      For damages against Defendants Koons Johnson individually, Zellhart and DOES

   6   1-10 in an amount to be determined at trial, but at least for the value of the property taken.

   7          C.      For punitive and exemplary damages against Defendants Koons Johnson

   8   individually, Zellhart and DOES 1-10.
   9          D.      For an order requiring Defendants to immediately provide Plaintiffs’ counsel with
  10   a copy of any inventory of Plaintiffs’ property.
  11          E.      For costs and reasonable attorney’s fees pursuant to 28 U.S.C. § 2412.
  12          F.      For such other and further relief as the Court deems just and proper.
  13

  14   DATED: August 13, 2021                                  Respectfully submitted,
                                                               KAPLAN MARINO, PC
  15

  16                                                           /s/ Nina Marino
                                                               ________________________
  17                                                           NINA MARINO
                                                               JENNIFER LIESER
  18                                                           Attorneys for Plaintiffs
                                                               DONALD LEO MELLEIN
  19
                                                               PAULA MARGARITA VILLEGAS de
  20                                                           MELLEIN

  21

  22

  23

  24

  25

  26

  27

  28
                                                          30
                                                    COMPLAINT
Case 2:21-cv-06588-RGK-MAR Document 1 Filed 08/13/21 Page 31 of 31 Page ID #:31




   1                                   DEMAND FOR JURY TRIAL

   2          Plaintiffs hereby demands a jury trial on all issues properly triable to a jury pursuant to

   3   Federal Rule of Civil Procedure 38.

   4

   5   DATED: August 13, 2021                                Respectfully submitted,
                                                             KAPLAN MARINO, PC
   6

   7                                                         /s/ Nina Marino
                                                             ________________________
   8                                                         NINA MARINO
                                                             JENNIFER LIESER
   9                                                         Attorneys for Plaintiffs
                                                             DONALD LEO MELLEIN
  10
                                                             PAULA MARGARITA VILLEGAS de
  11                                                         MELLEIN

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                                        31
                                                   COMPLAINT
